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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA

In re:     Ivan Melo Perez                                         Case No.: 2:24-bk-01143-
                                                                   FMD
                                                                   Chapter 13
                   Debtor                 /

                                     NOTICE OF HEARING

         NOTICE IS GIVEN THAT:

  1. The Honorable Chief Judge Caryl E. Delano will conduct a preliminary hearing in this

         case on June 12, 2025, at 2:15PM, at Ft. Myers, FL - Room 4-102, Hearing Room,

         United States Courthouse, 2110 First Street, Ft. Myers, FL 33901, on the following

         matter:

            Objection to Claim(s). Claim No. 4 of ANNETTE SLOAN (Doc. No. [23])

  2. [DELANO-FORT MYERS CASES] Unless otherwise notified, Judge Delano will

         conduct all Fort Myers hearings by Zoom from Tampa Courtroom 9A. Parties may attend

         the hearing by video or telephone via Zoom. UNLESS INSTRUCTED OTHERWISE,

         PARTIES MAY NOT APPEAR IN PERSON AT THE FORT MYERS COURTHOUSE.

         Parties are directed to consult Judge Delano’s Procedures Governing Court Appearances

         regarding policies and procedures for attendance at hearings by video or telephone via

         Zoom, available at https://www.flmb.uscourts.gov/judges/delano. If you are unable to

         access the Court’s website, please contact the Courtroom Deputy at 813-301-5195 no

         later than 3:00 p.m. one business day before the date of the hearing.

  3. Any party opposing the relief sought at this hearing must appear at the hearing, or any

         objections or defenses may be deemed waived.

  4. The Court may continue this matter upon announcement made in open court and reflected

         on the docket without further written notice.
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                                    Certificate of Service

       I HEREBY CERTIFY that on May 16, 2025, a true and correct copy of the foregoing
Notice was served via U.S. First Class Mail or electronic transmission to:

John Waage, Trustee; Debtor; and Creditor as follows:

Debtor(s), Ivan Melo Perez
711 FARGO DR
Fort Myers, FL 33913

ANNETTE SLOAN
c/o Joseph R. North, Esq.
5220 Summerlin Commons Blvd. Suite 300
Fort Myers, FL 33907

Annette Sloan
727 Fargo Dr.
Fort Myers, FL 33913

 Respectfully submitted:                 Jose A. Blanco, P.A.
 May 16, 2025                            By: /s/ Jose A. Blanco | FBN: 062449
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